AO 440 {Rev, 06/12) Summons in a Civil Action


                                      United States District Court
                                                                for the
                                                                                                             RECEIVED
                                                    Eastern District of Tennessee
                                                                                                                 JUL 1 5 2024
                      MIKAYLA EVANS.                               )
                                                                                                          Clerk, U. S. District Court
                                                                   )
                                                                                                        Eastern Di’^^'ict of Tennessee
                                                                   )                                            At Knoxville
                                                                   )
                            PlawliJ]'(s)
                                                                   )
                                                                   )
                                V.                                         Civil Action No.   2;24-cv-l06
                                                                   )
                   JOHNSON CITY, et a!..
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                           DefemlaiH(s)                            )

                                                 SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address)
                                       Justin Jenkins
                                       601 E. Main Street
                                       Johnson City. TN 37601




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must ser\^e on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintifPs attorney,
whose name and address are:
                                       Robert Dziewulski
                                       Ashleigh Beer-Vineyard
                                       DZ Law. PLLC
                                       800 S. Gay Street, Suite 2131
                                       Knoxville. TN 37929



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLEZK/OF COURT


Date:     06/21/2024
                                                                                        Signature of Clerk

                                                                                      ► RECEIVED i

                                                                                      JUL 0 1 2024 CfSlCfsFD
     Case 2:24-cv-00106-JRG-CRW                     Document 5-1          Filed 06/21/24      Page 1 of 2     PagelD#:48
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 Civil Action No. 2:24-cv-106


                                                            PROOF OF SERVICE

                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))


           This summons for (mtmeof individual and tide, ifany)                   ^

 was received by me on (date)            "7 - ^ - 2.
           ^T personally served the summons on the individual at (place)                                                  S /
                         Sj£> xi- -i£                                             on (date)            ^                 ; or


           □ I left the summons at the individual’s residence or usual place of abode with (name)

                                                                   , a person of suitable age and discretion who resides there,
           on (date)                                , and mailed a copy to the individual’s last known address; or

           ^1 served the summons on (name of individual)                                                                          , who is

            designated by law to accept service of process on behalf of (name of organization)

                                                                                  on (dare) ~7 - ^                       ; or


           □ I returned the summons unexecuted because                                                                                 ; or



           O Other (specify):




           My fees are S                            for travel and $                   for seiwices, for a total of $           0.00




           I declare under penalty of perjury that this information is true.


 Date:

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                                                                                                                                              yV^C^yt %




                                                                                              Sener's address



 Additional information regarding attempted service, etc:




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